Case 2:03-cr-20231-SH|\/| Document 23 Filed 07/28/05 Page 1 of 2 Page|D 33
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U.S.A. vs. M!`chaelMatthews Docket No. 2:03C iii m
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Petition on Probation and Supervised Release

COMES NOW Christy J. Hen_sg;n , PROBATION OFFICER OF TI-IE COURT presenting an
official report upon the conduct and attitude of Michael Matthews who was placed on supervision by the
Honorable Samuel H. Mays, Jr. sitting in the Court at Memphis, TN , on the l§,_th day of November M,
who fixed the period of supervision at three 131 year , and imposed the generai terms and conditions
theretofore adopted by the Court and also imposed Special Conditions and terms as follows:

 

 

l. The defendant shall be prohibited from incurring new credit charges or opening additional lines of
credit without the approval of the Probation Oflice.

2. The defendant shall provide the Probation Office access to any requested financial information

3. The defendant shall notify the Court and the U.S. Attomey of any material change in economic
circumstances that might aH`ect the defendant’s ability to pay restitution

4. The defendant shall pay restitution in regular monthly installments in the amount often percent (10%)
of gross income from all sources. Interest requirement is waived

5. The defendant shall pay restitution in he amount of Seven 'I`housand Six Hundred Dollars. ($7,600.00)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Michael Matthews fits the criteria for early termination recommended by the Judicial Conference Committee
on Crirninal Law. He has made progressive strides towards achieving supervision objectives and appears to
pose no risk to public safety. Mr. Matthews has made payments totaling $4,200.00 towards his Court ordered
restitution obligation leaving an outstanding balance of $ 3,400.00. Assistant United States Attomey Carnille
McMillen objects to the defendant being released from supervision early due to the outstanding restitution
On July 25, 2005, Mr. Matthews executed an Authorization for Autornatic Payroll Deduction Forrn with the
U.S. Attorney Financial Litigation Unit and agreed to have One Hundred Dollars ($100.00) deducted bi-
weekly from his pay check.

PRAYING THAT THE COURT WILL ORDER that Michael Matthews be allowed to end his term of
supervision early with the understanding that the United States Attorney’s Office will be responsible for the
continued collection of restitution

ORDER OF COURT

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made a part of the records in the above case.

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United States District ludge

 

Place: l\/Iernp_hisa TN
Date: Julv 26. 2005

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:03-CR-20231 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Tracy Lyrm Berry

U.S. ATTORNEY'S OFFICE
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Ste. 800

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Honorable Samuel Mays
US DISTRICT COURT

